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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION

UNITED STATES OF AMERICA,                          CR 17-12-M-DLC-3

                     Plaintiff,
                                                          ORDER
        vs.

DARCY LEE SEGAL,

                     Defendant.


      On November 8, 2017, Defendant Darcy Lee Segal ("Segal") filed a Motion

to Produce Information on Cooperating Witnesses. (Doc. 13 5.) Segal, through

counsel, moves the Court to compel the Government to produce information

relating to her co-defendant, Nathan Alan Swenson, who is expected to testify at

Segal' s sentencing hearing. The Government opposes the motion in part.

      Sentencing in this case is set for November 17, 201 7. Due to time

constraints, the Government shall respond to Segal's motion (Doc. 135) by 12:00

p.m. on November 14, 2017. Once the matter is fully briefed, the Court will take

the motion under advisement.

      Dated this \3"""day of November,
                                                           '

                                      Dana L. Christensen, Chief Judge
                                      United States District Court
